Filed 09/17/19 Page1lof5

Fill in this information to identify the case:

    

United States Bankruptcy Court for the:

: a La of “t District of

(State) .
Case number (if known): Chapter _{/ CY Check if this is an
amended filing

 

Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy 04/19

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.

sown CHATS ANE MENT LLC

 

 

 

 

 

 

 

  

 

 

 

 

 

me
ms
2, All other names debtor used __\ 2
in the last 8 years mae
\ a
nclude any assumed names, \ oa euseen
trade names, and doing business =I =
as names \
fh n CG a S
3. Debtor’s federal Employer 4 Lo _ O ob 5 7 3 7 f fos “¢€
Identification Number (EIN) To ™ ©
4. Debtor’s address Principal place of business Mailing address, if different from principal place
AY — of business /
vf ) ra rs 4
ACC MH S/ SU LOL8 Cenire: fom
Number Street “~ Number Street
~ oy A 2
QuLle YOf,-A
; : .O. Box > ;
: f . . } - L . g d o~ Se foe? ‘, {
Wash Ne Loe “rrImagiy ie 05
City State ZIP Code City vy" Stife ZIP CodeV

Location of principal assets, if different from

g , ‘ os bit: 7 O F GQ Ih , i, a principal place of business

County

 

Number Street

 

 

City State ZIP Code

5. Debtor’s website (URL) C HEIL Ee Me Nigemen Le, Con
7

A Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
Partnership (excluding LLP)
O) other. Specify:

6. Type of debtor

 

Official Form 201 Voluntary Petition for Non-individuals Filing for Bankruptcy page 1
-— Case 1 055-JTD iy 09/17/19 Page2of5
Debtor Cte CF YH} Wee Aen / Case number (i known)

7. Describe debtor’s business

8. Under which chapter of the
Bankruptcy Code is the
debior filing?

9. Were prior bankruptcy cases
filed by or against the debtor
within the last 8 years?

If more than 2 cases, attach a
separate list.

10. Are any bankruptcy cases
pending or being filed by a
business partner or an
affiliate of the debtor?

List all cases. If more than 1,
attach a separate list.

Official Form 201

A. Check one:

Q) Health Care Business (as defined in 11 U.S.C. § 101(27A))
Q) Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
O) Railroad (as defined in 11 U.S.C. § 101(44))

Q) Stockbroker (as defined in 11 U.S.C. § 101(53A))

mi] Commodity Broker (as defined in 11 U.S.C. § 101(6))

Q) Clearing Bank (as defined in 11 U.S.C. § 781(3))

a None of the above

B. Check ail that apply:

Q Tax-exempt entity (as described in 26 U.S.C. § 501)

C Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
§ 80a-3)

C) investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
htip:/www.uscourts. gov/four-digit-national-association-naics-codes .

Ag gu

 

Check one:

C) Chapter 7
Q Chapter 9
ya Chapter 11. Check all that apply.

OQ) Debtor's aggregate noncontingent liquidated debts (excluding debts owed to
insiders or affiliates) are less than $2,725,625 (amount subject to adjustment on
4/01/22 and every 3 years after that).

Q) The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
debtor is a small business debtor, attach the most recent balance sheet, statement

of operations, cash-flow statement, and federal income tax return or if all of these
documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

Qa plan is being filed with this petition.

QO Acceptances of the plan were solicited prepetition from one or more classes of
creditors, in accordance with 11 U.S.C. § 1126(b).

C} The debtor is required to file periodic reports (for exampie, 10K and 10Q) with the
Securities and Exchange Commission according to § 13 or 15(d) of the Securities
Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
for Bankruptcy under Chapter 11 (Official Form 201 A) with this form.

C) The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
12b-2.

a Chapter 12

(No

C2) ves. District When Case number

MM / DD/YYyYy

District When Case number

MM/ DD/YyYyYY

Y No
C) Yes. Debtor Relationship

District When
MM / DD /yYyYy
Case number, if known

 

Voluntary Petition for Non-Individuals Filing for Bankruptcy page 2
2 tes 19-12055, 1D De¢g1, ,Filed 09/17/19 Page3of5
Debtor Chl E Mi emer 7 a Case number (i known)

11. Why is the case filed in this
district?

12, Does the debtor own or have
possession of any real
property or personal property
that needs immediate
attention?

 

Check ail that apply:

A Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
immediately preceding the date of this petition or for a longer part of such 180 days than in any other
district.

Qa bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

JANo

CD Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
Why does the property need immediate attention? (Check all that apply.)

Ott poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
What is the hazard?

 

OQ it needs to be physically secured or protected from the weather.

C) It includes perishable goods or assets that could quickly deteriorate or lose value without
attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
assets or other options).

C} Other

 

Where is the property?

 

Number Street

 

 

City State ZIP Code

ts the property insured?
L) No

L) Yes. insurance agency

 

Contact name

 

Phone

 

| Ee and administrative information

13. Debtor’s estimation of
available funds

14. Estimated number of
creditors

15. Estimated assets

Official Form 201

Check one:

C) Funds will be available for distribution to unsecured creditors.
CD After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

C) 1-49 Q) 1,000-5,000 QO) 25,001-50,000

@) 50-99 Q) 5,001-10,000 Q 50,001-100,000

Q) 100-199 OQ) 10,001-25,000 LJ More than 100,000

CJ 200-999

UO) $0-$50,000 Q) $1,000,001-$10 million $500,000,001-$1 billion

U $50,001-$100,000 C) $10,000,001-$50 million $1,000,000,001-$10 billion
CQ) $100,001-$500,000 Q) $50,000,001-$100 million L) $10,000,000,001-$50 billion
Q) $500,001-$1 million C $100,000,001-$500 million Q) More than $50 billion

Voluntary Petition for Non-Individuals Filing for Bankruptcy page 3
Debtor

Chel B71

QO) $0-$50,000

Q) $50,001-$100,000
© $100,001-$500,000
CQ) $500,001-$1 million

16. Estimated liabilities

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WC) JTD__Doc
NOGENT LUC

Case number (if known)

@ $500,000,001-81 billion

O21 $1,000,000,001-$10 billion
Q $10,000,000,001-$50 billion
QO) More than $50 billion

C2 $1,000,001-$10 million

L $10,000,001-$50 million
C2 $50,000,001-$100 million
CQ) $100,000,001-$500 million

| Ee for Relief, Declaration, and Signatures

WARNING - Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
$500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of ©
authorized representative of
debtor

The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
petition.

| have been authorized to file this petition on behalf of the debtor.

| have examined the information in this petition and have a reasonable belief that the information is true and
correct.

| declare under penalty of t perjury that the foregoing is true and correct.

x bly [MP |, Spend

Ht jcl4

MM /DD/YYYY

Executed on

hér wolf | Mi Nie F

Signature of authorized representative of ‘dé btor ” Printed name

 

 

 

 

 

 

 

 

 

 

. 5
Title €%
18. Signature of attorney x Date
Signature of attorney for debtor MM /DD /yYyYYy
Printed name
Firm name
Number Street
City State ZIP Code
Contact phone Email address
Bar number State

Official Form 201

Voluntary Petition for Non-Individuals Filing for Bankruptcy page 4
10.

11.

12.

13.

14.

15.

16.

Case 19-12055-JTD Doci1 Filed 09/17/19 Page5of5

MATRIX

U.S. DISTRICT COURT FOR THE EASTERN DISTRICT OF
VIRGINIA (ALEXANDRIA
401 COURTHOUSE SQUARE ALEXANDRIA, VA 22314,
CASE NO. 1:18:cv-00697

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U.S. DISTRICT BANKRUPTCY COURT CALIFORNIA
NORTHERN BANKRUPTCY COURT OAKLAND ( CASE NO. 19-40042, Golfer CRI¢ fue $ Sah " livid

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